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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

BARRY C. MCANARNEY, as he is EXECUTIVE
DIRECTOR, MASSACHUSETTS LABORERS’
HEALTH AND WELFARE FUND,
MASSACHUSETTS LABORERS’ PENSION FUND
and MASSACHUSETTS LABORERS’ ANNUITY
FUND; and JAMES V. MERLONI, JR., as he is
ADMINISTRATOR, NEW ENGLAND LABORERS’
TRAINING TRUST FUND and TRUSTEE,
MASSACHUSETTS LABORERS’ LEGAL
SERVICES FUND,

Plaintiffs,
v.

UNIVERSAL CONSTRUCTION SERVICES, INC. in
its own name and d/b/a MANNY CONSTRUCTION
CO., ANA’S COMMERCIAL CLEANING, INC.,
GOMES COMMERCIAL CLEANING, INC. and UCS,
INC.; JSX CONSTRUCTION COMPANY, INC. a/k/a
JSX CONSTRUCTION COMPANY CORP. and
CAPITAL CONSTRUCTION CLEANING SERVICES,
INC.,

Defendants,

and

SUFFOLK CONSTRUCTION COMPANY, INC.,
WALSH BROTHERS INCORPORATED, BOVIS
LEND LEASE LMB, INC., TISHMAN
CONSTRUCTION CORPORATION OF
MASSACHUSETTS, KIRKLAND CONSTRUCTION
CO., INC., SHAWMUT WOODWORKYNG &
SUPPLY, INC. d/b/a SHAWMUT DESIGN AND
CONSTRUCTION, WILLIAM A. BERRY & SON,
INC. and TIMBERLINE CONSTRUCTION CORP.,

Reach-and-Apply Defendants,

and

CITIZENS BANK, CENTURY BANK and BANK OF
AMERICA,

Trustees.

 

 

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STIPULATION OF DISMISSAL

Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiffs hereby dismiss

the Cornplaint with prejudice and without costs, waiving all rights of appeal.

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Date: March 17, 2010

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